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                      IN THE UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF MISSOURI


 In re:
                                                         Case 21-40834
 INTERSTATE UNDERGROUND WAREHOUSE                        Chapter 11
 AND INDUSTRIAL PARK, INC.
                           Debtor.




               ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM
               AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

          Upon the application of Interstate Underground Warehouse and Industrial Park,
Inc. (“Debtor”) for an order pursuant to F.R.B.P. 3003(c)(3), fixing a deadline (the “Bar
Date”) and establishing procedures for filing proofs of claim and approving the form and
manner of service thereof, and it appearing that the relief requested is in the best
interests of the Debtor, its estate, and creditors, and that adequate notice has been given
and that no further notice is necessary; and after due deliberation and good and sufficient
cause appearing therefore, it is hereby
          ORDERED that except as otherwise provided, all persons and entities (including,
without limitation, individuals, partnerships, corporations, joint ventures, trusts and
governmental units) that assert a claim, as defined in § 101(5) of the Bankruptcy Code,
against the Debtor which arose on or prior to the filing of the Chapter 11 petition on July
1, 2021 (the “Filing Date”) shall file a proof of such claim in writing so that it is received
on or before December 3, 2021, and it is further
          ORDERED that the following procedures for filing of Proofs of Claim shall apply:
           (a)         Proofs of Claim must conform substantially to Official Bankruptcy
Form No. B410;

              (b)     Attorneys and employees of institutional creditors should file Proofs
       of Claim electronically on the Court’s Case Management/Electronic Case File
       (“CM/ECF”) System. Those without accounts to the CM/ECF System must either
file   their Proofs of Claim by mailing or delivering the original Proof of Claim by hand
to the Clerk of the United States Bankruptcy Court, 400 East Ninth Street, Room 1510,
       Kansas     City,   Missouri   64106   or by       using the Court’s website
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       http://www.mow.uscourts.gov/bankruptcy/ePOC.html and use the ePOC program;
       and

            (c)    Proofs of Claim must (i) be signed; (ii) include supporting
       documentation (if voluminous attach a summary) or an explanation as to why
       documentation is not available; (iii) be in the English language; and (iv) be
       denominated in United States currency.



       IT IS FURTHER ORDERED THAT THE FOLLOWING PERSONS OR ENTITIES NEED
NOT FILE A Proof of Claim on or prior to the Bar Date:
             (a)     Any person or entity that has already filed a Proof of Claim against
       the Debtor with the Clerk of the Bankruptcy Court for the Western District of
       Missouri in a form substantially similar to Official Bankruptcy Form No. B410;

               (b)  Any person or entity whose clam is listed on the Schedules filed by
       the Debtor, unless (i) the claim is scheduled as “disputed,” “contingent” or
       “unliquidated”; or (ii) the claimant does not agree with the amount, nature and
       priority of the claim as set forth in the Schedules;

              (c)    Any holder of a claim that heretofore has been allowed by order of
       this Court;

             (d)   Any person or entity whose claim has been paid in full by the
       Debtor; and

              (e)   Any holder of a claim allowable under § 503(b) and § 507(a)(2) of
       the    Bankruptcy Code as an expense of administration.


       IT IS FURTHER ORDERED that any person or entity that holds a claim that arises
from the rejection of an executory contract or unexpired lease, as to which the order
authorizing such rejection is dated on or before the date of entry of this Order, must file a
Proof of Claim based on such rejection on or before the Bar Date, and any person or
entity that holds a claim that arises from the rejection of an executory contract or
unexpired lease, as to which an order authorizing such rejection is dated after the date of
entry of this Order, must file a Proof of Claim on or before such date as the Court may fix
in the applicable order authorizing such rejection; and it is further
       ORDERED that holders of equity security interests in the Debtor need not file
proofs of interest with respect to the ownership of such equity interests, provided,
however, that if any such holder asserts a claim against the Debtor (including a claim




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relating to an equity interest or the purchase or sale of such equity interest), a proof of
such claim must be filed on or prior to the Bar Date pursuant to the procedures set forth
in this Order; and it is further
       ORDERED that if the Debtor amends or supplements the Schedules subsequent to
the date hereof, the Debtor shall give notice of any amendment or supplement to the
holders of claims affected thereby, and such holders shall be afforded 30 days from the
date of such notice to file proofs of claim in respect of their claims or be barred from
doing so, and shall be given notice of such deadline; and it is further
       ORDERED that nothing in this Order shall prejudice the right of the Debtor or any
other party in interest to dispute or assert offsets or defenses to any claim reflected in the
Schedules; and it is further
       ORDERED that pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims that
fail to comply with this Order by timely filing a proof of claim in appropriate form shall
not be treated as a creditor with respect to such claim for the purposes of voting and
distribution; and it is further
       ORDERED that a copy of this Order shall be deemed adequate and sufficient notice
if served by first class mail no more than 10 days from the date of this Order on:
               (a)     the United States Trustee;

               (b)     counsel to each official committee;

              (c)    all persons or entities that have requested notice of the proceedings
       in the Chapter 11 case;

               (d)     all persons or entities that have filed claims;

              (e)    all creditors and other known holders of claims as of the date of this
       Order, including all persons or entities listed in the Schedules as holding claims;

             (f)       all parties to executory contracts and unexpired leases of the
       Debtor;

               (g)     all parties to litigation with the Debtor;

              (h)    the Internal Revenue Service for the district in which the case is
      pending, and, if required by Bankruptcy Rule 2002(j), the Securities and Exchange
      Commission and any other required governmental units (a list of such agencies is
      available from the Office of the Clerk of the Court); and




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               (i)    such additional persons and entities as deemed appropriate by the
         Debtor.

         IT IS FURTHER ORDERED that any person or entity who desires to rely on the
Schedules will have the responsibility for determining that the claim is accurately listed in
the Schedules; and it is further
         ORDERED that the Debtor is authorized and empowered to take such steps and
perform such acts as may be necessary to implement and effectuate the terms of this
Order; and it is further
         ORDERED that entry of this Order is without prejudice to the right of the Debtor to
seek further order of this Court fixing a date by which holders of claims or interests not
subject to the Bar Date established herein must file such Proofs of Claim or Interest or be
barred from doing so.
Dated:     November 1, 2021
                                           /s/ Dennis R. Dow
                                           The Honorable Dennis R. Dow,
                                           United States Bankruptcy Judge

Submitted by:
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